         Case 2:19-cv-22234-ES-MAH Document 104 Filed 03/31/22 Page 1 of 1 PageID: 4141




          March 31, 2022                                               Anthony P. La Rocco
                                                                       anthony.larocco@klgates.com
          VIA ECF                                                      T +1 973 848 4014
                                                                       F +1 973 848 4001
          Hon. Esther Salas, U.S.D.J.
          U.S. District Court District of New Jersey
          50 Walnut Street
          Newark, NJ 07101

           Re:      Advanced Gynecology and Laparoscopy of North Jersey, P.C., et al., v. Cigna
                    Life and Health Insurance Company, et al., No. 19-cv-22234-ES-MAH

         Dear Judge Salas:

                   Counsel for Plaintiffs write regarding the Court’s Text Order dated March 29, 2022

         [ECF Dkt No. 103], scheduling oral argument on Defendants’ motion to dismiss the Second

         Amended Complaint [ECF Dkt No. 79] on May 12, 2022. Counsel for Plaintiffs unfortunately

         have an unavoidable conflict on that date. Therefore, with the consent of counsel for

         Defendants, Plaintiffs respectfully request a brief adjournment of the May 12, 2022,

         argument date. The parties have conferred on proposed alternate dates over the two weeks

         following this date and can be available on May 16, 19, 23, or 26, 2022. We are happy to

         discuss additional proposed dates if the Court so requires.

                   We thank the Court for its continued attention to this matter.

         Respectfully submitted,

         /s/ Anthony P. La Rocco

         Anthony P. La Rocco

         cc:       All counsel of record (via ECF)


K&L GATES LLP
ONE NEWARK CENTER TENTH FLOOR NEWARK                  NJ 07102
T +1 973 848 4000 F +1 973 848 4001 klgates.com
Anthony P. La Rocco, Administrative Partner, New Jersey
         306308835 v1
